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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               WEST PALM BEACH DIVISION

                            CASE NO.: 9:20-cv-_________________


  LA DOLFINA S.A. LLC,
  a Florida limited liability company, and
  ADOLFO CAMBIASO, individually

         Plaintiff,
  v.

  D. ALAN MEEKER, individually,
  a/k/a ALAN MEEKER,
  a/k/a DAVID ALAN MEEKER,
  CRESTVIEW FARM, LLC,
  a Texas limited liability company, and
  CRESTVIEW GENETICS, LLC,
  a Nevada limited liability company,

        Defendants.
  ____________________________________/


                      COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiffs La Dolfina S.A. LLC (“La Dolfina”) and Adolfo Cambiaso (“Mr. Cambiaso”),

  as and for their Complaint against Defendants D. Alan Meeker a/k/a Alan Meeker a/k/a David

  Alan Meeker (“Meeker”), Crestview Farm, LLC (“Crestview Farm”) and Crestview Genetics,

  LLC (“Crestview Genetics”) (Crestview Farm and Crestview Genetics, collectively the

  “Crestview Defendants”) state as follows:
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                                     Allegations Common to All Counts

                                              Nature of the Action

  1.      This matter concerns the unauthorized cloning and sale by Defendants of unique and

  invaluable horses and genetic material owned by Plaintiffs and used in the sport of polo. 1

  2.      The polo pony clones at issue derived from the genetic stock of poly ponies owned by

  Plaintiff La Dolfina’s parent La Dolfina S.A., an Argentine company (“La Dolfina S.A.”), which

  polo ponies are world-renown for their unique and superior athletic abilities, intellectual acumen,

  temperament, and vastly superior performance in the sport of high-goal polo. Mr. Cambiaso and

  his wife are the sole owners of La Dolfina S.A. and Mr. Cambiaso owns individually some of the

  horses and genetic material relevant hereto.

  3.      The Defendants herein previously entered into certain contractual relationships with

  Plaintiffs or are otherwise subject to certain obligations and duties regarding from business

  relationships regarding the cloning, marketing and sale internationally of certain polo ponies

  owned by Plaintiffs.

  4.      Recently, it has come to the attention of Plaintiffs that Defendant Meeker, individually and

  through his alter-ego Defendant Crestview Farm, and utilizing the resources and facilities of

  Defendant Crestview Genetics, has:

          a)       engaged in the unauthorized misappropriation of certain genetic material derived

          from La Dolfina’s renown polo ponies;

          b)       has cloned certain of those polo ponies;

          c)       has sold some of those clone progeny; and



  1
    Horses utilized as equine athletes in the modern sport of polo are commonly called “polo ponies” though not pony-
  size at all.
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         d)      imminently intends to sell and ship more of that unauthorized, cloned progeny to

         locations outside the jurisdiction of this Court and outside of the United States.

  5.     These actions by Meeker and the Crestview Defendants are either or both direct breaches

  of the contracts between the parties, and, or alternatively, are breaches of certain duties and

  obligations that arose from the cloning business venture amongst the Plaintiffs and Defendant

  Meeker and the Crestview Defendants.

  6.     The past breaches and and present intentions of Defendants Meeker the Crestview

  Defendants to further breach the contractual and fiduciary duties between Plaintiffs and those

  Defendants have already caused, and threaten to further cause irreparable harm to the La Dolfina

  and Cambiaso genetic line of polo ponies, as well as to the professional performance of the owner

  of La Dolfina, Aldolfo Cambiaso. Mr. Cambiaso is a professional 10 goal polo player, the highest

  ranking, and he, his La Dolfina horses and his La Dolfina stable and team are widely regarded as

  the very best amongst the best in the sport of polo.

  7.     The unauthorized cloning of La Dolfina and Cambiaso horses and international sale of

  the clones threatens to irreparably harm the ability of La Dolfina and Mr. Cambiaso to successfully

  compete and win at the highest levels of polo, as well as threatens to dilute and irretrievably

  distribute the unique and irreplaceable genetic material found in the La Dolfina polo pony lineages

  and constitutes unauthorized possession and distribution of genetic material owned by Mr.

  Cambiaso through his La Dolfina S.A entity. For clarity, these injuries are not readily curable

  with later economic damage awards.

  8.     The within Complaint therefore not only seeks to recover for breaches of contractual and

  fiduciary duties, but also seeks, together with an accompanying motion, an immediate preliminary

  injunction and writ of replevin to prevent the further and irretrievable and irreparable dilution and
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  dissemination of the La Dolfina genetic pool by the unauthorized activities of Defendant Meeker,

  whether alone or by and through the other Crestview Defendants and other Crestview-related

  entities or affiliates.

  9.      Plaintiffs have attempted to resolve this matter amicably; however and despite demand, the

  Defendants have failed to cease and desist their unauthorized misappropriation of the La Dolfina

  genetic material.

  10.     The within lawsuit follows.

                                   Parties, Jurisdiction and Venue

  11.     Plaintiff La Dolfina S.A., LLC (“La Dolfina”) is a Florida limited liability company with

  offices in Palm Beach County, Florida, and is the assignee of La Dolfina, S.A., an Argentine entity,

  with respect to all matters against the Defendants set forth herein.

  12.     Plaintiff Aldolfo Cambiaso is a Argentina national, with an address in Palm Beach County,

  Florida who plays polo professionally at the highest level in Wellington, Palm Beach County,

  Florida.

  13.     Alan Meeker a/k/a D. Alan Meeker, a/k/a David Alan Meeker(“Meeker”) is a citizen and

  resident of Tarrant County, Texas, having an address at 4770 Bryant Irvin Court, Suite 400, Fort

  Worth, TX 76107. Meeker, both individually, as well as through and by use of the entities

  Crestview Farms, LLC, Crestview Genetics, LLC, and Crestview Farm Aiken, LLC, conducted

  business with La Dolfina and Mr. Cambiaso in the State of Florida and have committed the

  aforesaid breaches and tortious acts having an effect on La Dolfina and Mr. Cambiaso in Florida.

  Further, Meeker conducted related cloning business in Palm Beach County, Florida during periods

  relevant hereto, such as with Chris Young and Overbrook Farm, LLC, which cloning business
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  became part of the representations and material terms of the contractual obligations of Defendants

  with Plaintiffs.

  14.     Defendant Crestview Farm, LLC (“Crestview Farm”) is incorporated in Texas as a Texas

  limited liability company having an address and principal place of business at 4770 Bryant Irvin

  Court, Suite 400, Fort Worth, TX 76107. Meeker was at all times relevant hereto, the sole

  Member of Crestview Farm and manager of Crestview Farm, and so dominates and controls

  Crestview Farm to such an extent that the independent existence of Crestview Farm is in fact non-

  existent and that Meeker was in fact the the alter ego Crestview Farm. At all times relevant hereto,

  Meeker deliberately used the corporate form of Crestview Farm fraudulently or for improper

  purposes, and as more fully set forth herein below, formed or used the corporate form, including

  but not limited to being a mere device or sham and used to commit fraud and to frustrate La Dolfina

  and Mr. Cambiaso and which caused and threaten to further cause injury to Plaintiffs. Further,

  Crestview Farm conducted related cloning business in Palm Beach County, Florida during periods

  relevant hereto, such as with Chris Young and Overbrook Farm, LLC, which cloning business

  became part of the representations and material terms of the contractual obligations of Defendants

  with Plaintiffs.

  15.     Defendant Crestview Genetics, LLC (“Crestview Genetics”) is incorporated in Nevada as

  a Nevada limited liability company, having an address and principal place of business at 4770

  Bryant Irvin Court, Suite 400, Fort Worth, TX 76107. Meeker was at all times relevant hereto,

  the sole Member of Crestview Genetics and manager of Crestview Genetics, and so dominates and

  controls Crestview Genetics to such an extent that the independent existence of Crestview Genetics

  is in fact non-existent and that Meeker was in fact the the alter ego Crestview Genetics. At all

  times relevant hereto, Meeker deliberately formed and used the corporate form of Crestview
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  Genetics fraudulently or for improper purposes, and as more fully set forth herein below, formed

  and used the corporate form, including but not limited to being a mere device or sham and being

  used to commit fraud and to frustrate La Dolfina and Mr. Cambiaso and which caused and threaten

  to further cause injury to Plaintiffs. Further, Crestview Genetics conducted related cloning

  business in Palm Beach County, Florida during periods relevant hereto, such as with Chris Young

  and Overbrook Farm, LLC, which cloning business became part of the representations and material

  terms of the contractual obligations of Defendants with Plaintiffs.

  16.     The misrepresentations of Meeker and the Crestview Defendants set forth herein were

  made by Meeker and Crestview Farm in Wellington, Palm Beach County, Florida. Further, the

  misconduct and breaches by Meeker and Crestview Farm have had an effect on Plaintiffs in Palm

  Beach County, Florida 2 as well as elsewhere.

  17.     Further, Defendant Meeker has previously availed himself of the privilege of conducting

  other business in Florida, registering his company, in which he is the Chief Executive Officer and

  Manager, TOTAL DIAGNOSTIX II, LLC (“Total Diagonostix”), a Tennessee limited liability

  company, under FLDOS filing # M15000007588 to conduct business in Florida, on December 23,

  2015. Meeker subsequently and repeatedly filed annual reports in Florida listing Meeker as a

  manager of that Florida company from 2015 through 2018. Defendant Meeker has also availed

  himself of the privilege of conducting further business in Florida, registering his company, in

  which he is the Chief Executive Officer and Manager, CQUENTIA NGS, LLC (Cquentia”), a

  Texas limited liability company, under FLDOS filing # M18000001107 to conduct business in

  Florida, on January 31, 2108. Meeker subsequently and repeatedly has filed annual reports in


  2
    Wellington, Palm Beach County, Florida, is home to the high-goal polo tournament which occur annually January
  through April, in which La Dolfina, its horses and Mr. Cambiaso have appeared and competed for over two decades.
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  Florida listing Meeker as a manager of that Florida company from 2018 through the present.

  Meeker and his Total Diagonistix and Cquentia companies have recently been sued in both Florida

  state and federal courts for claims including but not limited to fraud, civil theft, unjust enrichment,

  and for breach of contract. 3

  18.     In addition to the non-economic damages sought herein, Plaintiffs seek damages in excess

  of $ 75,000, exclusive of attorney’s fees and costs.

  19.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1332 because complete

  diversity of citizenship exists among the parties and the amount in controversy exceeds $75,000

  exclusive of interests and costs. Plaintiffs also seek declaratory relief herein and therefore this

  Court additionally had subject matter jurisdiction pursuant to 22 U.S.C. §§ 2201 and 2202 and

  pursuant to Fed.R.Civ.Pro. 57.

  20.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the parties each

  conduct business within this State and are subject to personal jurisdiction in this Court.

                                           The Cloning Idea in 2006

  21.     The La Dolfina interest in cloning polo ponies arose out of an unfortunate and mortal injury

  to Mr. Cambiaso’s favorite horse, an agile chestnut stallion named “Aiken Cura.” During a tie-

  break period (chukker) of the 2006 Campeonato Argentino Abierto de Polo, a high-goal,

  professional polo tournament which Mr. Cambiaso and La Dolfina had been playing in, Aiken

  Cura collapsed with a broken limb when returning to the side of the field in Palermo, Bueno Aires,



  3
    Meekerr’s Cquentia was recently subject to a qui tam lawsuit for False Claim Act violations for Anti-Kickback and
  Stark Law violations in United States ex rel. Pińon v. CQuentia Series LLC d/b/a CQuentia Labs, Total Diagnostix,
  LLC, and Decatur Hospital Authority, d/b/a Wise Regional Health Systems. Meeker is the Chief Executive Officer
  of the Cquentia Labs conglomerate and his attorney involved in the facts herein, Mr. Ross, is Cquentia’s General
  Counsel.
  See: http://www.cquentia.com/about-cquentia/our-team/
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  Argentina. When Mr. Cambiaso felt the horse begin to limp beneath him, he leapt out of his

  saddle and threw his blue-and-white helmet to the ground in anguish. “Save this one whatever it

  takes!” he had pleaded, covering his face with his gloves. But the leg had to be amputated below

  the knee, and eventually Mr. Cambiaso, whose team won the Argentine Open that year and has

  won this most- prestigious of high-goal tournaments an additional twelve times 4, was forced to

  euthanize his beloved Aiken Cura.

  22.     Before euthanizing Aiken Cura, Mr. Cambiaso requested veterinarians obtain a skin sample

  from the horse and put the sample into a deep freeze to store in a Buenos Aires laboratory.

  23.     Mr. Cambiaso, who together with his La Dolfina team, relies heavily on the abilities of his

  equine athletic partners on the field of play, remembers his thinking that day: “I just thought

  maybe, someday, I could do something with the cells.”


                                        The Horse Cloning Initiative

  24.     Three years later, in 2009, Defendant Meeker, who is a Texas oilman with an amateur

  interest in cloning, approached La Dolfina and Cambiaso and offered to enter into a joint business

  venture to clone, market and sell some of La Dolfina’s best polo ponies, using genetic material

  taken from those polo ponies. Many of the discussions with La Dolfina and Mr. Cambiaso and

  misrepresentations by Defendants regarding the Cloning Initiative occurred in Wellington, Palm

  Beach County, Florida. Further, much of the agreement amongst the parties was made in Palm

  Beach County, Florida.

  25.     Meeker and Cambiaso thus subsequently entered into The Horse Cloning Contract (the

  “Cloning Initiative Agreement”), attached hereto as Exhibit 1, as an expression of the intentions


  4
    La Dolfina has won the Argentine Open seven consecutive times up to 2019. The 2020 Argentine Open is presently
  being contested.
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  of the parties with regard to cloning, and as an expression of the intention of the parties that further,

  mutual agreements were contemplated between the parties regarding the cloning initiative.

  26.     The Cloning Initiative Agreement was drafted on or about June 15, 2009 by Meeker’s

  attorneys. That document was premised on the assumptions that:




  27.     The document was thus was premised upon the underlying assumptions and premises of

  Meeker and Mr. Cambiaso that:

          1)      The genetic donor polo pony mares and the tissue of Aiken Cura (misspelled Aiken

          Currah in the Contract) were owned by Mr. Cambiaso;

          2)      Meeker through his Crestview Farm, LLC entity was then “involved in the use of

          advanced technologies in the cloning of horses”;

          3)      A joint “arrangement” was later to be entered into between the parties; and

          4)      Mr. Cambiaso would provide genetic tissue from Aiken Cura and other polo pony

          mares according the terms of the Contract.

  28.     The parties did not intend the Cloning Initiative Agreement to be the final expression of

  the terms of the cloning business endeavor. Drafted by Meeker’s attorneys, the Contract lacks an

  “entire agreement” or integration clause, and reads more akin to a letter of intent, contingent on

  the cloning technology actually working and requiring further preconditions and agreements:
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         •   in paragraphs 1 and 2, requiring the successful cloning to occur;

         •   in paragraph 3, requiring further negotiation to establish a mutually acceptable cloning

             program only if the cloning was successful, to wit:




         •   also in paragraph 3, providing that until the negotiation and establishment of a mutually

             acceptable program, La Dolfina, and not Meeker, was to continue to be considered the

             owner of the original animal;

         •   requiring, in paragraph 4, further mutual agreement between the parties as to sales price

             and terms; and

         •   requiring, in paragraph 5, requiring further mutual agreement prior to any “second

             edition” of cloned polo ponies.

  29.    Mr. Cambiaso, an Argentine for whom English is not his native language, did not

  participate in the drafting of this English-only document, which was not translated by Meeker’s

  attorneys. Mr. Cambiaso and La Dolfina were not given an opportunity to review the Contract

  with their attorneys. Mr. Cambiaso understood from the concurrent misrepresentations by Meeker

  and Crestview Farm, that Mr. Cambiaso was executing the Cloning Initiative Agreement on behalf

  of La Dolfina, which was at all times relevant hereto the owner of the relevant original horse Aiken

  Cura. Further, while the horse “Aiken Cura” and its genetic material was and is owned by Mr.

  Cambiaso, other of the horses later involved were owned by La Dolfina.

  30.    The cloning technology ultimately proved successful, and between January 6, 2010 and

  January 2, 2011, certain of Mr. Cambiaso and La Dolfina polo pony clones were born in Argentina.
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                                        Defendants’ Misrepresentations

  31.     Concurrently with the negotiation and execution of the Cloning Initiative Agreement,

  numerous representations were made by Meeker, individually and through his Crestview Farm,

  LLC, that La Dolfina and Mr. Cambiaso through his interest in La Dolfina, were to be considered

  the owner of the original polo ponies (and their genetic material) that were and might in the future

  be subject to cloning and that Meeker understood that only limited rights were granted to Meeker.

  32.     Meeker and the Crestview Defendants represented that they would not clone any La

  Dolfina or Cambiaso horses outside of express, mutual agreements between the parties. This

  representation turned out to be false.

  33.     This was also the same sort of misrepresentation that Defendants made to others at about

  the same time. For example, another business partner in a related cloning venture regarding the

  grandson progeny “Storm Cat 02” of the great racehorse “Secretariat” sued Crestview Genetics in

  2016, alleging that Crestview Genetics created further Storm Cat clones to commercialize that

  stallion without the mutual and express written consent of the owner of Storm Cat. 5 See Exhibit

  2 hereto, at ¶¶ 1 through 21 of the Storm Cat Owner’s Counterclaim, commencing at page 20

  therein.

  34.     In that litigation, the owner only found out about the misappropriation of the Storm Cat

  genetic material and unauthorized cloning after an article expose’ about the cloning in the

  magazine Vanity Fair was brought to the attention of the owner of Storm Cat. 6 See Exhibit 2.


  5
    According to a federal court filing by Crestview Genetics, Storm Cat’s clones would mate with with polo mares
  and other elite mares from competitive horse show provenance.”
  6
     When the owner of Storm Cat made demand upon Crestview Genetics to cease and desist, Crestview commenced
  litigation against Overbrook and its individual owner in an effort to suppress and avoid compliance with that demand.
  Also during that time in 2016, Crestview filed a Patent and Trademark Intent to Use the Storm Cat mark, purporting
  to be the owner of the Storm Cat mark when Storm Cat had been owned and stood for stud by its owner since the
  1980s.
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  35.     Meeker and the Crestview Defendants also made the same sort representations in Florida

  to La Dolfina, Mr. Cambiaso and others during the period 2010 through 2019 during numerous

  meetings in Wellington, Palm Beach County, Florida leading up to and including the negotiations

  and execution of the 2019 Side Letter Agreement. Defendants made promises that they would

  undertake only the mutually-agreed upon use of the genetic material to create only clones

  authorized and agreed upon by the parties.

  36.     These representations were consistent with the purpose and intent of the 2009 and 2019

  agreements and business relationship, which was to promote the very limited cloning and

  distribution of a very small number of La Dolfina polo pony clones. These representations were

  also consistent with the sport of polo, where it is widely considered that a player’s success is more

  than 50% attributable to the quality of his polo pony string, and in the case of La Dolfina, where a

  powerful and valuable brand had been built by Mr. Cambiaso based upon the competitive

  successes of Mr. Cambiaso himself and La Dolfina.

  37.     However, as became clear to Plaintiffs only now, Defendants had and have no intention of

  honoring those representations and those representations were in fact false, made only to induce

  Plaintiffs to enter into the contractual relationships set forth herein.

  38.     Additionally, in 2019, Meeker also represented to La Dolfina and Cambiaso, while in Palm

  Beach County, Florida and alsoat that time of the negotiation and execution of that document, that

  Meeker and Crestview Farm possessed the technology and experience to effect the purpose and

  intent of the parties as first expressed in 2009.

  39.     La Dolfina and Mr. Cambiaso only later learned that, despite the June 2009 and July 2019

  representations by Meeker in the Cloning Initiative Agreement and the 2019 Side Letter

  Agreement, at that time, Meeker and his Crestview Farm did not actually possess the technological
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  expertise to actually clone a polo pony and were not the actual owners of the Storm Cat stallion

  Clone.

  40.      Therefore, both the 2009 Cloning Initiative Agreement and the 2019 Sidle Letter

  Agreement are void ab initio because of the fraudulent misrepresentations of Meeker, Crestview

  Farm and Crestview Genetics.

  41.      Meeker and Crestview Farm falsely represented to Plaintiffs in 2009 that they possessed

  the technology and experience to produce polo pony clones. However, Meeker and Crestview

  Farm did not actually obtain that technology and ability until November 8, 2010, which was over

  16 months after the Cloning Initiative Agreement was drafted on June 15, 2009.

  42.      Only in late 2010 did Meeker and Crestview Farm eventually locate an Arizona company,

  ViaGen, Inc., and enter into a technology and services Agreement (the “ViaGen Agreement”) in

  order that Meeker, through his newly-created Crestview Genetics, LLC entity, could actually

  perform any of Meeker’s obligations under the Contract. Exhibit 3 hereto.

  43.      In fact, neither Meeker nor Crestview Farm ever performed under the Cloning Initiative

  Agreement because the 2010 ViaGen Agreement grants Crestview Genetics, LLC, not Crestview

  Farm, LLC and not Meeker, a license to use the ViaGen cloning technology.

  44.      Therefore, from the inception of the Cloning Initiative Agreement and at all times

  thereafter, neither Crestview Farm nor Meeker have ever been able to perform under the 2009

  Cloning Initiative Agreement.

  45.      Therefore not only was the Cloning Initiative Agreement void ab initio because of the

  fraudulent misrepresentations by Meeker and Crestview Farm, that document was immediately

  breached by Crestview Farm and Meeker because they never did have the ability to undertake any

  of the performance for which they were obligated under that document.
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  46.    With no performance possible by Crestview Farm and Mr. Meeker under the Cloning

  Initiative Agreement, there was no consideration given La Dolfina and Mr. Cambiaso when that

  document was executed. Therefore, that document fails as a contract for lack of consideration.

  47.    Further, on July 29, 2019, Plaintiffs and Defendant Crestview Genetics entered into the

  2019 Side Letter Agreement, Exhibit 4 hereto, whereby Defendants Meeker and Crestview

  Genetics purportedly contributed as consideration the ownership and cloning rights to the valuable

  “Storm Cat 02” racehorse clone.       Discussed further herein below, Plaintiffs have come to

  understand that at the time of the 2019 Side Letter Agreement, Meeker and Crestview Genetics

  did not actually own Storm Cat 02 and its genetic material, but only had a limited license to use,

  on a very restrictive schedule, the Storm Cat 02 clone.

  48.    Because Meeker and Crestview Genetics did not actually own Storm Cat 02, despite their

  express representations to the contrary to induce Plaintiffs to execute the Side Letter Agreement,

  those Defendants neither put in the full consideration required under the Side Letter Agreement,

  nor were able to perform under the Side Letter Agreement.

  49.    Had La Dolfina and Mr. Cambiaso known in June of 2019 that Meeker, Crestview Farm

  and Crestview Genetics did not then possess the cloning technology and experience in cloning

  equines, and that Meeker and Crestview Genetics did not own the Storm Cat 02 clone and did not

  possess unlimited rights to use the Storm Cat genetic material and to freely produce Storm Cat

  clones, La Dolfina and Cambiaso would not have entered into the 2009 Cloning Initiative

  Agreement and the 2019 Side Letter Agreement.

                 Defendants’ Scheme to Steal Valuable Equine Genetic Material

  50.    Only now has the deliberate plan by Meeker and the Crestview Defendants to steal genetic

  material from rightful owners become clear to La Dolfina and Mr. Cambiaso.
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  51.     The present scheme by the Defendants under color of purported contract is not the first

  time that Meeker and the Crestview Defendants have attempted to misappropriate and use in an

  unauthorized matter highly valuable and unique equine genetic material.


                                            The “Storm Cat” Steal

  52.     Just as in the present case, Meeker and Crestview Genetics previously coveted a unique

  and famous equine genetic bloodline and spared no effort to wrongfully strip away the rightful

  ownership of the genetic material from the owners of the famous racehorse, Storm Cat. 7

  53.     Meeker once wrote about the Storm Cat genetic material, “… I see going after all the

  markets in the US and abroad outside of Jockey Club breeding/intended use. The sport horse

  worlds and polo world will want those genetics.”

  54.     Meeker, by and through his alter-ego Crestview Genetics, then embarked on an aggressive

  scheme to misappropriate from the owner, the genetic material of the famous racehorse Storm Cat,

  a grandson of of the World-renown thoroughbred racehorse “Secretariat.”

  55.     In that case, Defendants Meeker and Crestview Genetics misappropriated Storm Cat

  genetic material from the owners of the original Storm Cat and created an unauthorized clone of

  Storm Cat, named “Storm Cat 02.” Exhibit 2.

  56.     In that federal litigation, Crestview Genetics and Meeker did not tell the owner of Strom

  Cat about such misconduct. The owner of Storm Cat found out about the misappropriation of the

  7
    The bloodline of Storm Cat is very valuable because of Secretariat’s successes and the subsequent successes of
  Storm Cat progeny. For example, as of 2016, Storm Cat progeny had earned an aggregate of over $ 128,000,000 in
  winning race purses, have sold for an aggregate of over $ 319,000,000 over 452 yearlings (averaging over $ 705,750
  per yearling) with 91 Storm Cat yearlings selling for over $ 1,000,000.

    Defendant Crestview Genetics has itself admitted in a prior federal lawsuit that Storm Cat was “a championship
  thoroughbred; Strom Cat was a grandson of the world-renowned thoroughbred, Secretariat; Storm Cat has also been
  known as the leading North American sire in 1999 and 2000; and Storm Cat had a breeding career that was legendary
  throughout the equine world, which career extended over twenty years.”
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  Storm Cat genetic material and unauthorized cloning only after an article expose’ about the cloning

  in the magazine Vanity Fair was brought to the attention of the owner of Storm Cat. See Exhibit

  2.

  57.    The owner of Storm Cat, Overbrook Farm, LLC, had previously informed Meeker and

  Crestview Genetics that “We never discussed giving Crestview ownership of the genetic material,

  but simply a right to produce, with our approval, a certain number of clones with the material.”

  Exhibit 2.

  58.    Meeker and Crestview Genetics nevertheless misappropriated the Storm Cat genetic

  material and produced a clone of Storm Cat.

  59.    Also as part of Meeker’s scheme in the Storm Cat misappropriation and cloning, in 2016

  Crestview also attempted to misappropriate the Storm Cat trademark. At that time, Meeker and

  Crestview Genetics filed with the U.S. Patent and Trademark Office an Intent to Use the Storm

  Cat mark, purporting to be the owner of the Storm Cat mark, despite the fact that Storm Cat had

  been owned and stood for stud by its owner Overbrook Farm, LLC since the 1980s. Exhibit 2.

  60.    When the owner of Storm Cat found out about the unauthorized Storm Cat clone from

  Vanity Fair and then made demand upon Defendants Meeker and Crestview Genetics to cease and

  desist, Crestview decided that the best defense to their malfeasance was to commence litigation

  against Overbrook and its individual owner in an effort to suppress and avoid compliance with that

  cease and desist demand.

  61.    Ultimately, Meeker and Crestview Genetics were forced to concede that they did not own

  either the Storm Cat genetic material nor the right to trademark Storm Cat marks. In the Storm

  Cat Settlement Agreement reached in April, 2017, Crestview conceded its misappropriation of the
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  genetic material and withdrew, in perpetuity, its intent to use application with the U.S. Patent and

  Trademark Office.

  62.     In return, under the Storm Cat Settlement Agreement, Meeker and Crestview Genetics

  received very limited rights which were defined as (1) a limited license “to use” certain Storm Cat

  genetic material for limited cloning, and (2) certain “licensed rights” with respect to the Storm Cat

  mark, which limited rights were renewable in 5 year increments. Exhibit 5.

  63.     Significant to the present case, none of the Defendants received ownership of Storm Cat

  genetic material or the initial unauthorized Storm Cat clone created by Meeker and Crestview

  Genetics.

  64.     For clarity, in the Storm Cat litigation, Meeker and Crestview: (1) misappropriated genetic

  material from a famous and valuable horse; (2) created an unauthorized clone of that horse; (3)

  with the intent to market the clone and its progeny and genetic material throughout the World; (4)

  when confronted with the malfeasance, commenced litigation to block the owner’s rights; and (5)

  was later forced to relinquish Meeker and Crestview Genetics’ specious claims to Storm Cat and

  settle for strictly limited rights.

  65.     In the present case, it appears history is repeating itself.

                                        The “Aiken Cura” Steal -

                     Defendants Create and Sell Unauthorized Polo Pony Clones

  66.     La Dolfina and Mr. Cambiaso have just learned that in the Fall of 2020, Meeker began

  the unauthorized creation and selling of La Dolfina clones to third parties under color of the 2009

  Cloning Initiative Agreement. Specifically, on November 18, 2020 (the “November 18th

  Correspondence”), Meeker’s counsel admitted, in paragraph #2 of correspondence to La Dolfina

  [Exhibit 6 hereto], that:
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         Crestview Farm has created several cloned foals under its continuing rights under
         the 2009 Agreement, and has sold three of them to a third party for more than the
         minimum price mentioned in the 2009 Agreement or as later agreed by the parties.

  67.    In that November 18, 2020 correspondence, Exhibit 6, Meeker’s counsel then identified

  the La Dolfina donor polo ponies and further took the position that:

        Crestview Farm’s rights under the 2009 Agreement are completely separate and
        superior to any rights held by Adolfo under the 2019 Settlement Agreement with
        Crestview Genetics, LLC (a separate entity from Crestview Farm with different
        owners).

  68.    From Meeker’s correspondence and in subsequent conversations with his attorneys, it has

  become clear to La Dolfina that Meeker has disavowed all of Meeker’s subsequent representations

  and contractual and fiduciary obligations under his 2010 through 2019 cloning business dealings

  with La Dolfina and rely solely upon the 2009 Cloning Initiative Agreement, over-reaching based

  upon an inception concept, just as Defendants did with the owners of Storm Cat.

  69.    However, the 2009 document does not impart to Meeker, nor to Crestview Farm, the rights

  claimed by Meeker to the La Dolfina clones and to any genetic material owned by La Dolfina and

  by Mr. Cambiaso.

  70.    Defendants’ unauthorized misappropriation and use of equine genetic material belonging

  to La Dolfina and Mr. Cambiaso forms a familiar pattern also seen in the Storm Cat litigation –

  Defendants making misrepresentations, then grabbing highly unique and valuable equine genetic

  material from their rightful owners, producing unauthorized clones, and then marketing the clones

  and material throughout the World for profit.
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                                Defendants Make Unreasonable Demands
                               Threaten Litigation and Criminal Prosecution

  71.      Meeker and the Crestview Defendants seek to take further advantage of the chaotic and

  labyrinthine corporate maze they have created. This time, they have dispatched correspondence

  on December 7, 2020 to Mr. Cambiaso and La Dolfina S.A. in Argentina, threatening criminal

  prosecution in Argentina (the December 7th Correspondence”) unless certain, very complex

  actions, are not taken by Plaintiffs in 24 hours or less.

  72.      The December 7th Correspondence was issued in bad faith by Defendants Meeker and

  Crestview Genetics in that the Correspondence (1) during a labor holiday, gives no more than 24

  hours for Plaintiffs to complete compliance with a complex series of demands involving delicate

  genetic material and clones that are not readily accessible and transportable; and (2) was issued

  while Plaintiffs are in the midst of the final games of the Argentine Open 8, thus ensuring that

  Plaintiffs would not be able to cogently meet, discuss, respond or act in compliance with the

  December 7th Correspondence. Clearly this Correspondence was issued in bad faith, with no

  intent to engage in meaningful dialogue or reach resolution, while at the same time threatening

  prosecution.

  73.      To the extent that the 2019 Side Letter Agreement, Exhibit 4, is purported to be the

  “separate agreement” vaguely described in the 2019 Settlement Agreement, the Side Letter

  Agreement requires Crestview Genetics to continue to perform certain obligations, such as the

  substantial settlement payments by Crestview Genetics to Chris Young and Overbrook Farm, LLC.

  Those obligated settlement payments from Crestview Genetics to Young and Overbrook Farm are



  8
    As of this writing, Plaintiffs are in pursuit of their 13th Argentine Open Championship, for which the final games are
  less than one week away, and are not available to consider and consult regarding response to the December 7th
  correspondence, let alone respond in 24 hours or less demanded in that Correspondence.
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  material terms of the 2019 Settlement Agreement, whereby Crestview Genetics was to have access

  to clones from a cloned stallion named “Storm Cat 02”, which, under paragraph 7 of Schedule II

  of the purported Side Letter Agreement, were “owned” by Crestview Genetics and semen was to

  be delivered to La Dolfina and Mr. Cambiaso for use in their own natural breeding program.

  74.    As a material inducement to Plaintiffs to enter into the 2019 Side Letter Agreement,

  Crestview Genetics represented in paragraph 6 of the Side Letter Agreement that “Crestview

  Genetics LLC is the owner of any and all clones derived from the cloned stallion ‘Storm Cat 02.’”

  75.    That was a material misrepresentation by Crestview Genetics. Pursuant to the April 17,

  2017 Settlement Agreement reached between the owners of Storm Cat and Crestview Genetics,

  attached hereto as Exhibit 5, Crestview Genetics was only granted the limited “right to use” an

  initial clone of Storm Cat, and that such “right to use” was contingent upon repeated, very large

  cash payments to be made by Crestview Genetics to Overbrook, the owner of the original Storm

  Cat. Exhibit 5, ¶¶ 6 and 10 therein.

  76.    This misrepresentation by Crestview Genetics is material in that, despite representation to

  the contrary by Crestview Genetics to Plaintiffs, Plaintiffs are not guaranteed that Crestview

  Genetics may continue to lawfully deliver the Storm Cat 02 semen to Plaintiffs andis consequently

  a material breach by Crestview Genetics of the 2019 Side Letter Agreement.

  77.    Because of this material breach of the 2019 Side Letter Agreement, Crestview Genetics

  cannot make claims against Plaintiffs by relying on a breach of the Side Letter Agreement.

  78.    Further, as set forth herein above, the 2009 and 2019 agreements are therefore either or

  both (1) void ab initio because of the fraudulent inducement by Defendants; (2) voidable because

  of the fraudulent performance by Defendants; (3) fail for lack of consideration; and / or (4) have

  been materially breached through failure to perform by Defendants.
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  79.       Additionally, the wrongful appropriation and unauthorized cloning by Meeker, whether or

  not through Crestview Farm, is (5) a further breach of the 2009 document because it is beyond the

  scope of what was agreed upon in 2009.

  80.       All conditions precedent to this Action have either been waived, excused or performed.

                                                 Count I

                                Preliminary and Permanent Injunctions

  81.       Plaintiffs repeat and reallege against all Defendants the allegations of ¶¶ 1 through 80 of

  the General Allegations.

  82.       The genetic material belonging to La Dolfina and Mr. Cambiaso horses and the clone

  progeny of those horses is highly unique. The strict limitations on the cloning and distribution of

  the clones is necessary to ensure the continued viability and quality of the cloned genetic lines, as

  well as to sustain the market demand and market value of the genetic copies of the La Dolfina polo

  ponies.

  83.       Defendants have also removed, unauthorized, equine genetic material belonging to

  Plaintiffs and others from the Republic of Argentina and brought that material to the United States.

  84.       The unauthorized misappropriation of the La Dolfina horses’ genetic material,

  unauthorized cloning, unauthorized sale and unauthorized World-wide distribution of the La

  Dolfina and Mr. Cambiaso clones by Defendants as alleged herein has caused and will continue to

  cause La Dolfina and Mr. Cambiaso irreparable and immediate injury, loss, and damages, for

  which there is no adequate remedy at law.

  85.       No adequate remedy at law exists that can fully protect Plaintiffs from damages, Plaintiffs

  will continue to suffer if Meeker, Crestview Farm, Crestview Genetics, and all entities, individuals,
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  parents, subsidiaries, affiliates thereof, are permitted to continue to misappropriate and clone the

  La Dolfina or Mr. Cambiaso horses and market and sell the clones and / or their genetic material.

  86.     The relief sought by Plaintiffs is further necessary to prevent and restrain the ongoing

  violations of law described herein.

  87.     The balance of equities additionally favor Plaintiffs and is in the public interest.


          WHEREFORE, Plaintiffs seek a preliminary injunction, to be made permanent at the

  conclusion of this case, against Defendants Meeker, Crestview Farm, Crestview Genetics, and

  against all entities, individuals, parents, subsidiaries, affiliates thereof, enjoining those individuals

  and entities, from continuing to misappropriate and clone the La Dolfina and Mr. Cambiaso horses

  and genetic material, and from marketing and selling the clones and genetic material.


                                                 Count II
                                    Prejudgment Writ of Replevin
  88.     Plaintiffs repeat and reallege against all Defendants the allegations of ¶¶ 1 through 80 of

  the General Allegations.

  89.     This is a claim for prejudgment Writ of Replevin pursuant to F.S. § 78.01 et seq. and

  Fed.R.Civ.Pro. 64.

  90.     The claimed property is (1) all of the unique genetic material from any and all horses owned

  and/or controlled by La Dolfina and/or Mr. Cambiaso; and (3) all born clones from that unique

  genetic material; and (4) all clones of La Dolfina and Mr. Cambiaso presently in gestation as

  created by Defendants.

  91.     Plaintiffs are entitled to the claimed property because the 2009 Cloning Initiative

  Agreement was void ab initio, breached by Defendants, lacked consideration, and because

  Defendants misappropriated the genetic material belonging to La Dolfina and Mr. Cambiaso.
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  92.    To the extent the 2009 document is found to be valid, Plaintiffs are nevertheless entitled to

  the claimed property because Defendants exceeded the authorized use of the genetic material

  belonging to La Dolfina and Mr. Cambiaso.

  93.    The claimed property has not been taken for a tax, assessment or fine pursuant to law.

  94.    The claimed property has not been taken under an execution or attachment against the

  property of Plaintiffs or if taken, is exempt.

  95.    The claimed property is being wrongfully detained, used and sold by Defendants.

         WHEREFORE, pursuant to F.S. §78.01 et seq., this Court should therefore issue a

  prejudgment Writ of Replevin requiring the Defendants to immediately turn over all of the claimed

  property to the sole possession, custody and control of La Dolfina.

                                                   Count III

                                       Fraudulent Inducement
                                    Regarding the 2009 Agreement

  96.    Plaintiffs repeat and reallege against Defendants Meeker and Crestview Farm the

  allegations of ¶¶ 1 through 80 of the General Allegations.

  97.    Based on Defendants’ representations in 2009 regarding the possession of the technology

  and experience to clone the La Dolfina horses, and reasonably and justifiably relying on those

  representations, Plaintiffs entered into the 2009 Cloning Initiative Agreement, provided Meeker,

  Crestview Farms, and their parents, subsidiaries, agents and representatives, access to and

  possession of the unique genetic material from select La Dolfina and Cambiaso polo ponies.

  98.    At the time Defendants negotiated with Plaintiffs and entered into the 2009 Cloning

  Initiative Agreement, Meeker and Crestview Farm did not actually possess the technology and

  experience to produce the clones which were the subject of that 2009 document.
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  99.       Further, at the same time, Defendants intended to misappropriate the genetic material from

  select La Dolfina and Cambiaso polo ponies and create and sell unauthorized clones therefrom.

  Defendants hid this intent from Plaintiffs during the negotiation and execution of the 2009

  Agreement.

  100.      At the time Defendants hid their intent from Plaintiffs, Defendants knew that such intent,

  if expressed, would discourage Plaintiffs from entering into the 2009 Agreement and providing

  access to the polo pony genetic material of Aiken Cura and other of Plaintiffs’ valuable polo pony

  string.

  101.      At the time of these misrepresentations and omissions, Defendants knew them to be false

  and misleading and intended to be false and misleading to Plaintiffs.

  102.      Further, Defendants’ attorneys drafted the 2009 Agreement to be false and misleading, and

  without providing a translation into Spanish. Defendants then represented to Plaintiffs that the

  2009 Agreement embodied what the parties had negotiated, when it did not.

  103.      Plaintiffs reasonably relied upon Defendants’ prior false representations and omission

  when entering into the 2009 Agreement.

  104.      As a direct and proximate result of those misrepresentations and omissions by Defendants

  Meeker and Crestview Farm, Plaintiffs have been damaged and continue to be damaged.

            WHEREFORE, Plaintiffs demand judgment against Defendants Meeker and Crestview

  Farm, including but not limited to actual and incidental damages and return of all clones and

  genetic material, prejudgment and post judgment interest, attorney’s fees and costs as allowed by

  law, and such other relief the Court finds just and proper.
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                                              Count IV

                                    Fraudulent Inducement
                            Regarding the 2019 Side Letter Agreement

  105.   Plaintiff repeats and realleges against Defendants Meeker and Crestview Genetics the

  allegations of ¶¶ 1 through 80 of the General Allegations.

  106.   Based on Meeker’s and Crestview Genetics’ representations in 2019 regarding their

  ownership of the Storm Cat clone and unrestricted use of the clone and the genetic material

  therefrom, and justifiably relying on those representations, Plaintiffs entered into the 2019 Side

  Letter Agreement.

  107.   At the time Defendants negotiated with Plaintiffs and entered into the 2019 Side Letter

  Agreement, Meeker and Crestview Farm did not actually possess the technology and experience

  to produce the clones which were the subject of the 2019 Side Letter Agreement

  108.   Further, at the same time, Defendants intended to misappropriate the genetic material from

  select La Dolfina and Cambiaso polo ponies and create and sell unauthorized clones therefrom.

  Defendants hid this intent from Plaintiffs during the negotiation and execution of the 2019 Side

  Letter Agreement.

  109.   At the time Defendants hid their intent from Plaintiffs, Defendants knew that such intent,

  if expressed, would discourage Plaintiffs from entering into the 2019 Side Letter Agreement and

  providing access to the polo pony genetic material of Aiken Cura and other of Plaintiffs’ valuable

  polo pony string.

  110.   At the time of these misrepresentations and omissions, Defendants knew them to be false

  and misleading and intended to be false and misleading to Plaintiffs.
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  111.   Plaintiff reasonably relied upon Defendants’ prior false representations and omission when

  entering into the 2019 Agreement.

  112.   As a direct and proximate result of those misrepresentations and omissions by Defendants

  Meeker and Crestview Genetics, Plaintiffs have been damaged and continue to be damaged.

         WHEREFORE, Plaintiffs demand judgment against Defendants Meeker and Crestview

  Genetics, including but not limited to actual and incidental damages and return of all clones and

  genetic material, prejudgment and post judgment interest, attorney’s fees and costs as allowed by

  law, and such other relief the Court finds just and proper.

                                               Count V

                                        Breach of Contract
                                   Regarding the 2009 Agreement

  113.   Plaintiffs repeat and reallege against Defendants Meeker and Crestview Farm the

  allegations of ¶¶ 1 through 80 of the General Allegations.

  114.   Plaintiffs Cambiaso and La Dolfina and Defendants Meeker and his alter-ego Crestview

  Farm entered into the 2009 Cloning Initiative Agreement.

  115.   The 2009 Agreement was premised upon the representation that Meeker, who controls and

  dominates the operations of Crestview Farm, and Crestview were experienced “in the use of

  advanced biotechnologies in the cloning of horses” and possessed those technologies.

  116.   The 2009 Agreement did not convey ownership of any Cambiaso or La Dolfina horses.

  That Agreement only allowed Crestview Farm, as provided in ¶ 1, very limited access and license

  for Crestview “to select four mares from Owner’s stock for the purpose of extracting tissue

  samples for cloning.” [emphasis added].
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  117.    The balance of the 2009 Agreement provided only for access to genetic material, such as

  that of Aiken Cura, sale of clones and the number of clones to be made. The 2009 Agreement

  was not a purchase by Defendants of polo ponies, or clones, or genetic material, from Mr.

  Cambiaso or La Dolfina. 9

  118.    The 2009 Agreement also contemplated further performance by Crestview of the

  production of “one or more clones” as required by ¶ 3 of the 2009 Agreement.

  119.    As well, ¶ 4 had a condition precedent, that Crestview Farm successfully produce clones.

  120.    Crestview Farm did not ever produce “one or more clones.”                          According to the

  representations of Defendants’ counsel, as well as the ViaGen Technology Agreement, Crestview

  Genetics created clones.

  121.    However, and again according to the express admission of Defendants’ counsel in the

  December 7th Correspondence Crestview Farm’s contractual obligations and Crestview Genetics’

  obligations are subject to separate documents governing separate entities.

  122.    Accepting that admission, then Meeker and Crestview Farm have not ever performed under

  the 2009 Agreement and thus have breached the Agreement.

  123.    Further, because Crestview Farm did not ever obtain the “advanced biotechnology” to

  clone the polo ponies, which were both underlying condition precedent to the performance by Mr.

  Cambiaso and La Dolfina, the 2009 Agreement was first breached by Meeker and Crestview Farm.

  Therefore, any performance that might have been required under the 2009 Agreement by

  Cambiaso and La Dolfina is excused.




  9
    Defendants’ current mischaracterization of the 2009 Agreement as a “purchase and sale” of famous equine genetic
  material and clones is reminiscent of the similar attempts at mischaracterization by Meeker of the agreement with
  Storm Cat’s owners, which Meeker was subsequently forced to abandon.
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  124.   Additionally, Defendants did not ever establish “an acceptable breeding program providing

  for the endorsement and marketing of clones and Crestview’s cloning program” as required by ¶

  3 of the 2009 Agreement.

  125.   By breaching the aforesaid provisions of the 2009 Agreement in the manner and method

  by which they did so, Defendants also breached the implied covenant of good faith and fair dealing

  implicit in those provisions of the 2009 Agreement.

         WHEREFORE, Plaintiffs demand judgment against Defendants Meeker and Crestview

  Farm, including but not limited to actual and incidental damages and return of all clones and

  genetic material, prejudgment and post judgment interest, attorney’s fees and costs as allowed by

  law, and such other relief the Court finds just and proper.

                                               Count VI

                                        Breach of Contract
                             Regarding the 2019 Side Letter Agreement

  126.   Plaintiffs repeat and reallege against Defendants Meeker and Crestview Genetics the

  allegations of ¶¶ 1 through 80 of the General Allegations.

  127.   Plaintiffs Mr. Cambiaso and La Dolfina and Defendants Meeker and his alter-ego

  Crestview Genetics entered into the 2019 Side Letter Agreement along with other parties thereto.

  128.   The 2019 Side Letter Agreement was premised upon the representation that Meeker, who

  controls and dominates the operations of Crestview Farm, and Crestview were experienced “in

  the use of advanced biotechnologies in the cloning of horses” and possessed that technologies.

  129.   The 2009 Agreement also contemplated further performance by Crestview of the

  production of “one or more clones.”
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  130.   Crestview Farm did not ever produce “one or more clones.”               According to the

  representations of Defendants’ counsel, as well as the ViaGen Technology Agreement, Crestview

  Genetics created clones. However, and again according to the express admission of Defendants’

  counsel in the December 7th Correspondence Crestview Farm’s contractual obligations and

  Crestview Genetics’ obligations are subject to separate documents governing separate entities.

  131.   Accepting that admission, then Meeker and Crestview Farm have not ever performed under

  the 2009 Agreement and thus have breached the Agreement.

  132.   Further, because Crestview Farm did not ever obtain the “advanced biotechnology” to

  clone the polo ponies, which were both underlying condition precedent to the performance by Mr.

  Cambiaso and La Dolfina, the 2009 Agreement was first breached by Meeker and Crestview Farm.

  Therefore, any performance that might have been required under the 2009 Agreement by

  Cambiaso and La Dolfina is excused.

  133.   By breaching the aforesaid provisions of the 2019 Side Letter Agreement in the manner

  and method by which they did so, Defendants also breached the implied covenant of good faith

  and fair dealing implicit in those provisions of the 2019 Side Letter Agreement.

         WHEREFORE, Plaintiffs demand judgment against Defendants Meeker and Crestview

  Genetics, including but not limited to actual and incidental damages and return of all clones and

  genetic material, prejudgment and post judgment interest, attorney’s fees and costs as allowed by

  law, and such other relief the Court finds just and proper.
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                                                       Count VII

                                          Breach of Bailment Contracts
                                          Regarding the 2009 Agreement
                                         and 2019 Side Letter Agreement

  134.       Plaintiffs repeat and reallege against all Defendants the allegations of ¶¶ 1 through 80 of

  the General Allegations.

  135.       Both the 2009 and 2019 Agreements gave possession to Defendants of Plaintiffs’ genetic

  material for strictly limited purposes and under strictly limited parameters.

  136.       Plaintiffs’ genetic material and any clones therefrom were thus delivered to Defendants

  only temporarily, with redelivery or delivery to a third party later contemplated, such as by sale of

  the clones to third parties.

  137.       The 2009 and 2019 Agreements, as well as can be implied from the conduct of the parties

  during this time period, created only a a bailment for the mutual benefit of the parties in return for

  the benefits flowing from the fact of bailment.

  138.       Further, Defendants were charged with the exercise of care, to preserve the value of the

  bailed genetic material and clones, for example, by not engaging in unauthorized production and

  sale which would dilute the valuable genetic bloodlines.

  139.       Defendants nonetheless exceeded the scope of their authorized bailment and

  misappropriated Plaintiffs’ genetic material and produced and sold unauthorized clones. 10

  140.       As a direct and proximate consequence of these breaches of the conditions of bailment

  under both the 2009 and 2019 Agreements, Plaintiffs have been injured.

             WHEREFORE, Plaintiffs demand judgment against all Defendants, including but not

  limited to actual and incidental damages and return of all clones and genetic material, prejudgment


  10
       Much in the same pattern of conduct as in the matter of Storm Cat.
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  and post judgment interest, attorney’s fees and costs as allowed by law, and such other relief the

  Court finds just and proper.

                                               Count VIII

                                      Breach of Fiduciary Duties

  141.    Plaintiffs repeat and reallege against all Defendants the allegations of ¶¶ 1 through 80 of

  the General Allegations.

  142.    Under the 2009 and 2019 Agreements, Defendants represented that they possessed and

  were experienced in the use of advanced biotechnologies in the cloning of horses and Plaintiffs

  relied upon Plaintiffs and their expertise. As such equine cloning experts, Defendants enjoyed a

  superior position to Plaintiffs during the negotiation and performance of those Agreements.

  Therefore, Defendants enjoyed a special relationship with Plaintiffs and specifically agreed to that

  relationship.

  143.    Meeker and Crestview specifically solicited that special relationship and all Defendants

  have benefitted from their superior position in that relationship, while Plaintiffs relied upon

  Defendants to act on Plaintiffs’ behalf and to look out for Plaintiffs’ best interests in the discharge

  of the Defendants’ roles in the cloning initiative. The Defendants thus had a fiduciary relationship

  with Plaintiffs.

  144.    By the aforesaid acts and omissions of and by the Defendants, those Defendants breached

  their duty of loyalty to Plaintiffs which obligated the Defendants to use reasonable and due

  diligence and care in the use of the genetic material and cloning and marketing and sale of the

  clones, so as to preserve Plaintiffs’ rights as a member of the cloning initiative.

  145.    The Defendants owed those fiduciary duties to Plaintiffs by virtue of the the Defendants’

  professed superior knowledge in equine cloning technology, for which Plaintiffs reposed much
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  trust in those Defendants, and upon which Plaintiffs relied in choosing to enter into the 2009 and

  2019 Agreements and contribute genetic material of a vastly superior caliber.

  146.   As a result of the aforesaid acts and omissions by the Defendants and the consequent

  breaches of fiduciary duties to Plaintiffs, Plaintiffs gave sustained damages, including but not

  limited to deprivation of the value of its genetic material, dilution of Plaintiffs’ brand and other

  irreparable harm, as well as non-monetary and monetary damages.

         WHEREFORE, Plaintiffs demand judgment against all Defendants, including but not

  limited to actual and incidental damages and return of all clones and genetic material, prejudgment

  and post judgment interest, attorney’s fees and costs as allowed by law, and such other relief the

  Court finds just and proper.

                                              Count IX

                                 Unjust Enrichment and Disgorgement

  147.   Plaintiffs repeat and reallege against all Defendants the allegations of ¶¶ 1 through 80 of

  the General Allegations.

  148.   Defendants have now received and enjoyed possession and use of Plaintiffs’ equine genetic

  material and clones therefrom, and their breeding and earning capacity without paying for same

  and while having exceeded the strict limits of Defendants’ very limited bailment of that genetic

  material and clones.

  149.   In contrast, Plaintiffs have been denied possession of the genetic material, have seen their

  brand and genetic bloodlines diluted, have been denied their share of any proceeds from sale, have

  been subject to unreasonable demands, and cannot fully be compensated for such harm that is

  irreparable.
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  150.   Under these circumstances, it is therefore inequitable for Defendants to retain the genetic

  material, and the clones to allow the cloning and retain breeding earnings from the clones or

  genetic material without compensating Plaintiffs.

         WHEREFORE, Plaintiffs demand judgment against all Defendants, including but not

  limited to actual and incidental damages, prejudgment and post judgment interest, attorney’s fees

  and costs as allowed by law, and such other relief the Court finds just and proper.

                                               Count X
                                             Conversion
  151.   Plaintiffs repeat and reallege against all Defendants the allegations of ¶¶ 1 through 80 of

  the General Allegations.

  152.   As set forth herein, the Defendants have exceeded the scope of their authorized use of

  Plaintiffs’ equine genetic material and clones therefrom. Defendants have claimed ownership of

  clones from that genetic material and have specifically admitted selling the clones into the public

  market and have retained all proceeds therefrom.

  153.   Defendants have thus converted the equine genetic property and clone progeny therefrom

  to Defendants’ own exclusive use and exclusive benefit.

  154.   The Defendants accepted the investment of Plaintiffs’ equine genetic material into the

  cloning initiative with the understanding and agreement that such contribution was for limited

  purpose and use, and was not a purchase and sale of that material.       Nevertheless, Defendants

  have converted that genetic material and the cloned progeny therefrom to their own use, thus

  permanently depriving Plaintiff of those assets.

  155.   As a result of such conversion, Plaintiffs have been damaged.
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         WHEREFORE, Plaintiffs demand judgment against all Defendants, including but not

  limited to actual and incidental damages and return of all clones and genetic material, prejudgment

  and post judgment interest, attorney’s fees and costs as allowed by law, and such other relief the

  Court finds just and proper.

                                                Count XI
                                         Equitable Accounting
  156.   Plaintiffs repeat and reallege against all Defendants the allegations of ¶¶ 1 through 80 of

  the General Allegations

  157.   By virtue of Defendants’ possession and use of Plaintiffs’ genetic material and operation

  of the biotechnology to effect the cloning therefrom, and as required by the 2009 and 2019

  Agreements, Defendants were required to keep and disclose accurate records to account for the

  use of Plaintiffs’ genetic material and the clones therefrom, and the revenues derived from all

  financial activity regarding same.

  158.   Defendants have not shared this information with Plaintiffs despite Plaintiffs’ demand,

  while admitting that Defendants have sold and plan to imminently sell, clones from Plaintiffs’

  equine genetic material in to the public market.

  159.   Under the aforesaid circumstances, Defendants should be ordered to account to Plaintiffs

  for the use of Plaintiffs’ genetic material the clones therefrom, and the revenues derived from all

  financial activity regarding same.

         WHEREFORE, Plaintiff demands judgment against Defendants requiring an accounting

  to Plaintiffs of the use of Plaintiffs’ genetic material the clones therefrom, and the revenues derived

  from all financial activity regarding same.
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                                                Count XII
                                  Imposition of a Constructive Trust
  160.      Plaintiffs repeat and reallege against all Defendants the allegations of ¶¶ 1 through 80 of

  the General Allegations.

  161.      As set forth herein, the Defendants have exceeded the scope of their authorized use of

  Plaintiffs’ equine genetic material and clones therefrom and Defendants have have claimed

  ownership of clones from that genetic material and have specifically admitted selling the clones

  into the public market and have retained all proceeds therefrom.

  162.      Defendants have thus converted the equine genetic property and clone progeny therefrom

  to Defendants’ own exclusive use and exclusive benefit, permanently depriving Plaintiff of those

  assets.

  163.      As a result of such conversion, Plaintiffs have been damaged.

  164.      Should the Court order Defendants to return the genetic material and clones, and any

  proceeds derived therefrom to Plaintiff, in order to secure Defendants’ performance, Plaintiffs seek

  a constructive trust upon all of the membership interest of Crestview Genetics, LLC held by

  Defendants, whether directly or indirectly so held.

  165.      The imposition of such a constructive trust is to serve as a method of securing Defendants’

  performance of such an Order of the Court, and not as an additional award of damages.

            WHEREFORE, Plaintiffs demand the imposition of a constructive trust, in favor of

  Plaintiffs, upon all of the membership interest of Crestview Genetics, LLC held by Defendants,

  whether held directly or indirectly through a third party.
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                                              Count XIII
                                        Declaratory Judgment
  166.   Plaintiffs repeat and reallege against all Defendants the allegations of ¶¶ 1 through 80 of

  the General Allegations.

  167.   The parties are in doubt concerning their respective rights to Plaintiffs’ equine genetic

  material and horses under ¶¶ 1, 2 and 4 of the 2009 Cloning Initiative Agreement.

  168.   The parties are further in doubt concerning their respective rights to Plaintiffs’ equine

  genetic material and clones under ¶ 7 of the 2019 Side Letter Agreement as to whether Defendant

  Crestview Farm, or some other entity, was the actual owner of Storm Cat 02 and whether such

  entity had unlimited right to use the genetic material of Strom Cat 02.

  169.   Therefore, there is a bonafide, actual, present and practical need for a declaration of the

  Court as to the rights and remedies of the court with respect to both the 2009 and 2019 Agreements.

         WHEREFORE, Plaintiffs seek declaratory judgement or such other remedy as the Court

  may deem proper, to resolve the rights and remedies of the parties under the Agreements.

                                             Jury Demand

         Plaintiffs hereby request trial by jury on all matters so triable as of right.



                                                         Respectfully submitted,

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